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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION

 THE STATE OF TEXAS, et al.,                    §
                                                §
        Plaintiffs,                             §
 v.                                             §       Civil Action No. 4:20-cv-00957-SDJ
                                                §
 GOOGLE LLC,                                    §
                                                §
        Defendant.                              §



                                    [PROPOSED] ORDER

       Before the Court is Defendant Google LLC’s Motions in Limine. Upon consideration of

the motions, applicable law, arguments in support thereof and in opposition thereto, it is hereby

       ORDERED as follows:

      Google’s Motion in Limine            Granted      Denied               Modified

 1. Other Lawsuits, Decisions or
 Findings, Government
 Investigations, or Fines Against
 Google, or Voluntary Resolutions or
 Settlements by Google.

 2. The Nonappearance of Certain
 Google Employees, Officers, or
 Directors at Trial Who Are Not
 Within the Court’s Subpoena
 Power.

 3. Google’s Acquisitions, Business
 Relationships, or Conduct Outside
 the Ad Tech Markets at Issue in this
 Case.

 4. Google’s Wealth, Size, Financial
 Condition, or Net Worth.
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    Google’s Motion in Limine         Granted   Denied        Modified

5. The Wealth, Net Worth, Property
Ownership or Compensation of
Current or Former Google Officers,
Directors, or Employees.

6. References to the States Seeking
Compensation or “Damages” for
Individual Consumers, Publishers,
or Advertisers.

7. Alleged Number of Statutory
Violations by Google.

8. The Amount of Penalties the
States Seek.

9. References to this Court’s Prior
Rulings (Except to Enforce Limine
Rulings).

10. Opinions or Testimony by an
Expert Designated as a Rebuttal
Expert During the States’ Case in
Chief, or Before Google Otherwise
Introduces the Expert Testimony
that the “Rebuttal” Expert was
Designated to Rebut.

11. Lay Testimony on Market
Definition, Market Power, or
Anticompetitive Conduct.

12. Extrapolations from Internet
User Data to Rates of Usage of
Google Ad Tech.

13. Corporate Representative
Testimony on Matters Outside their
Personal Knowledge.

14. Google’s Chat Retention Process
or Practices, Including Any
Suggestion that Google Failed to
Preserve Chat Messages.
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    Google’s Motion in Limine         Granted   Denied        Modified


15. Google’s Guidance to Employees
Regarding Communicating
Carefully.

16. Google’s Purported Discovery
Violations, Including Any Alleged
Failure to Produce Documents or
Provide Information in Discovery
(Including Suggestions that Google
is to Blame for the States’ Lack of
Evidence).

17. Google’s Labeling of Documents
as Attorney-Client Privileged.

18. Expert Opinions that Were Not
Disclosed in This Case

19. Undisclosed or Untimely
Disclosed Witnesses and Evidence.
